         Case 1:21-cr-00582-CRC Document 141 Filed 05/22/22 Page 1 of 9




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA

                       v.                            Case No. 21-582 (CRC)

MICHAEL A. SUSSMANN,

               Defendant.


             REPLY MEMORANDUM IN FURTHER SUPPORT OF
      NON-PARTY ERIC LICHTBLAU’S MOTION FOR PROTECTIVE ORDER

       Non-Party Eric Lichtblau has moved, pursuant to Rule 17 of the Federal Rules of

Criminal Procedure and the constitutional and common law reporter’s privileges, for an order

limiting the scope of the parties’ examination of him as a trial witness to communications

between himself and defendant Michael A. Sussmann. Mr. Sussmann formerly was a

confidential source for Mr. Lichtblau’s news reporting but he has since waived confidentiality

with respect to those communications. See generally Mot. for Protective Order (“Mot.”), ECF

No. 133. While Mr. Sussmann agreed to restrict the scope of his counsel’s examination to his

communications with Mr. Lichtblau in an effort to reach a compromise that would obviate the

need for the present motion, the government refused to enter into the same compromise. See id.

at 2. And, in its opposition to Mr. Lichtblau’s motion, the government has doubled down on its

refusal to compromise, instead offering a series of erroneous arguments to support the contention

that it “should be permitted to cross-examine Lichtblau about any communications he had with

other individuals . . . regarding the alleged connections between the Trump Organization and

Alfa bank.” See Gov’t’s Resp. to Mot. for Protective Order (“Resp.”) at 2, ECF No. 140

(emphasis added).
          Case 1:21-cr-00582-CRC Document 141 Filed 05/22/22 Page 2 of 9




         Pursuant to the Court’s May 20, 2022 Minute Order, Mr. Lichtblau respectfully submits

this reply memorandum in response to the government’s opposition. As explained below, Rule

17 and the reporter’s privilege each prohibit the government from engaging in such invasive and

unreasonably broad examination of a journalist regarding his or her newsgathering activities.

I.       Rule 17 Protects Mr. Lichtblau From “Unreasonable Or Oppressive” Questioning

         As Mr. Lichtblau established in his opening memorandum, a protective order limiting the

scope of his examination to “Sussmann Communications Testimony” is warranted in part

because any testimony Mr. Lichtblau might offer on topics other than his communications with

Mr. Sussmann would lack probative value and likely would be inadmissible as well. See Mot. at

3-4. In responding to this proposition, the government does not even attempt to demonstrate

why the testimony it seeks beyond that scope would be relevant and admissible, because it

cannot.1 Instead, it claims that Mr. Lichtblau is procedurally barred from raising such objections

because he is a non-party. Resp. at 3. As the Court of Appeals has held, however, Rule 17

expressly permits the recipient of a subpoena such as Mr. Lichtblau to seek relief on the grounds

that “compliance would be unreasonable or oppressive,” and that standard gives rise to a

“tripartite requirement of relevancy, admissibility and specificity” with respect to the information

sought. In re Sealed Case, 121 F.3d 729, 754 (D.C. Cir. 1997). Mr. Lichtblau is therefore


     1 The government first asserts that it “should be permitted to cross-examine Lichtblau about
any communications he had with [any] individuals, including, but not limited to, Fusion GPS
personnel and computer researchers, regarding the alleged connections between the Trump
Organization and Alfa bank,” then claims it should be permitted to question Mr. Lichtblau about
any “exchanges” that he had with anyone “concerning Alfa Bank or related matters.” See Resp.
at 2. The government does not explain, nor could it, how such testimony could possibly bear on
whether Mr. Sussmann knowingly made a false statement to the FBI in September 2016.
Moreover, as discussed below, infra n.3, such testimony would be inadmissible hearsay insofar
as it addressed what other persons said to Mr. Lichtblau and irrelevant insofar as it addressed
opinions Mr. Lichtblau expressed to or questions he asked of other persons.


                                                 2
         Case 1:21-cr-00582-CRC Document 141 Filed 05/22/22 Page 3 of 9




completely within his rights under Rule 17 to object to unrestricted examination at trial as

unreasonable and oppressive where the testimony the government seeks (beyond that limited to

the Sussmann Communications Testimony) would likely be both irrelevant and inadmissible.

Indeed, the government’s position defies common sense: How could a court determine whether

a trial subpoena’s burden on a witness is unreasonable or oppressive without considering the

relevance and admissibility of the testimony sought?

       The government also does not deny, nor could it, that unrestricted examination of

Mr. Lichtblau about his newsgathering would raise the type of “obvious First Amendment

problems” this Court identified and addressed in Chen v. FBI, 2020 U.S. Dist. LEXIS 242224

(D.D.C. Dec. 24, 2020). The government likewise does not deny, and therefore concedes, that

the Court can properly consider such First Amendment interests in determining whether a

subpoena is unreasonable or oppressive under Rule 17. See, e.g., Hopkins v. Women’s Div., Bd.

of Glob. Ministries, 238 F. Supp. 2d 174, 178 (D.D.C. 2002) (“It is well understood in this

Circuit that when a [party] files an opposition to a motion . . . addressing only certain arguments

raised by the [movant], a court may treat those arguments that the [party] failed to address as

conceded.”). Even without directly addressing the issue of a reporter’s privilege, therefore, this

Court can and should conclude under Rule 17 that exposing Mr. Lichtblau to unrestricted trial

examination would be unreasonable and oppressive because (1) the testimony the government

purports to seek is unlikely to satisfy the tripartite standard of relevancy, admissibility and

specificity, and (2) such an invasive inquiry into a reporter’s source communications would

unreasonably invite “an unwelcome chilling effect on First Amendment activity.” Chen, 2020

U.S. Dist. LEXIS 242224, at *11-12. The Court should therefore grant Mr. Lichtblau’s motion




                                                  3
           Case 1:21-cr-00582-CRC Document 141 Filed 05/22/22 Page 4 of 9




and restrict the scope of the parties’ examination of him to his communications with

Mr. Sussmann.2

II.       The Reporter’s Privilege Separately and Independently Protects Mr. Lichtblau

          Mr. Lichtblau further demonstrated in his opening memorandum that, pursuant to the

reporter’s privilege as recognized in this Circuit, he cannot be compelled to disclose information

he received in the course of his newsgathering absent extraordinary circumstances –

circumstances not present here. The government responds that (1) there is no such privilege in

the context of a criminal trial, see Resp. at 4-6; (2) even if the privilege exists it has been

overcome, see id. at 7; and (3) even if the privilege exists Mr. Lichtblau has waived it, see id. at

8-9. The government errs with respect to each contention.

          A.     The government places more weight on Branzburg than it can bear.

          In arguing against the existence of the reporter’s privilege, the government chiefly relies

on Branzburg v. Hayes, 408 U.S. 665 (1972). According to the government, “Branzburg

resolves the present dispute” in its entirety because, the government contends, the Court of

Appeals’ decision in In re Grand Jury Subpoena, Judith Miller stands for the proposition that

“‘[w]ithout doubt,’ Branzburg ‘is the end of the matter’ when it comes to claims of a ‘reporter’s

privilege’ in criminal cases.” Resp. at 4-5 (emphasis added) (quoting 438 F.3d 1141, 1147

(D.C. Cir. 2005)). The problem for the government is that the D.C. Circuit said nothing of the

sort in Miller. To the contrary, accurately quoted, the Court of Appeals wrote:



     The government cites no authority for its additional claim that, “[b]ecause Lichtblau has
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already agreed to appear at trial and provide testimony, his compliance with the defense
subpoena is, by necessity, not unreasonable or oppressive.” Resp. at 3. That contention is
contradicted by the common interpretation of Rule 17, which authorizes a trial court to quash or
to modify a subpoena.


                                                    4
          Case 1:21-cr-00582-CRC Document 141 Filed 05/22/22 Page 5 of 9




               Unquestionably, the Supreme Court decided in Branzburg that
               there is no First Amendment privilege protecting journalists from
               appearing before a grand jury or from testifying before a grand
               jury or otherwise providing evidence to a grand jury regardless
               of any confidence promised by the reporter to any source. The
               Highest Court has spoken and never revisited the question.
               Without doubt, that is the end of the matter.

Miller, 438 F.3d at 1147 (emphases added). The Court of Appeals thus interpreted Branzburg as

rejecting the existence of the constitutional reporter’s privilege only in the context of federal

grand jury investigations. See also id. at 1149 (referring to “the law applicable to grand juries

as set forth in Branzburg”) (emphasis added). Branzburg thus does not limit this Court’s ability

to modify a trial subpoena on the basis that it would violate the constitutional reporter’s

privilege. Cf. United States v. R. Enters., Inc., 498 U.S. 292, 297 (1991) (noting that “[a] grand

jury subpoena is . . . much different from a subpoena issued in the context of a prospective

criminal trial, where a specific offense has been identified and a particular defendant charged”);

see also Miller, 397 F.3d at 987-88 (Tatel, J., concurring) (recognizing that “this circuit has

limited Branzburg in other contexts”); Mot. at 7-8 (collecting cases recognizing the reporter’s

privilege).

        B.     Ahn is controlling in this Circuit and recognizes the reporter’s privilege.

        As Mr. Lichtblau has demonstrated, the Court of Appeals recognized that the reporter’s

privilege applies in criminal cases in United States v. Ahn, 231 F.3d 26, 36 (D.C. Cir. 2000).

There, journalists moved to quash a subpoena on the ground that the reporter’s privilege protects

them from the compelled disclosure of confidential sources, the district court granted that

motion, finding “that the reporters’ testimony was not ‘essential and crucial’ to [defendant’s]

case and was not relevant to determining [his] guilt or innocence,” and the D.C. Circuit

affirmed, stating that “the district court did not make an error of law or abuse its discretion in

granting the reporters’ motion.” Id. at 37 (emphasis added). Mr. Lichtblau accordingly has
                                                  5
         Case 1:21-cr-00582-CRC Document 141 Filed 05/22/22 Page 6 of 9




called on this Court to follow Ahn and apply the reporter’s privilege to limit the scope of his

questioning.

        Rather than accepting Ahn as the law of this Circuit and trying to make the showing

required under Ahn that unrestricted trial examination of Mr. Lichtblau is “essential and crucial”

to its case, the government argues that Ahn does not actually mean what it says. For one, the

government claims that Ahn did not “recognize[] a news-reporter’s privilege,” but, rather, “the

D.C. Circuit simply assumed that a privilege existed and found the defendant had failed to

overcome his burden in piercing it.” Resp. at 7 (emphasis added). That view ignores the clear

statement in Ahn that it was not “an error of law” to quash a subpoena on the basis of the

reporter’s privilege – i.e., that the privilege is indeed good law. Ahn, 231 F.3d at 37. For

another, the government argues that, “[t]o the extent any decisional rule can be gleaned from

Ahn, it is that a qualified reporter’s privilege gives way in a criminal proceeding where the

reporter has testimony ‘relevant to determining [a defendant’s] guilt or innocence.’” See Resp. at

7 (quoting Ahn, 231 F.3d at 37). But this ignores the requirement that the reporter’s testimony be

“essential and crucial” to the case. See Ahn, 231 F.3d at 37. Though it is far from clear whether

the government could meet even the relevancy requirement with respect to unrestricted

questioning of Mr. Lichtblau, the government has not even attempted to show that the resulting

testimony would be “essential and crucial” to its case. Under Ahn, therefore, the reporter’s

privilege protects Mr. Lichtblau from unrestricted questioning at trial and the Court should limit

the scope of his examination accordingly. 3


    3 With respect to mere relevance, the government claims that “[e]vidence that Fusion-GPS
personnel and other individuals were in contacted [sic] with Lichtblau about the same subject
matter as Sussmann bears on the central dispute in this proceeding—whether Sussmann was
acting as a good citizen, or as a paid advocate for Rodney Joffe and the Hillary Clinton
Campaign, when he met with the FBI General Counsel on September 19, 2016.” Resp. at 7.
                                                                                         (continued...)

                                                 6
          Case 1:21-cr-00582-CRC Document 141 Filed 05/22/22 Page 7 of 9




        C.       Mr. Lichtblau has not made a “selective waiver” of the reporter’s privilege.

        Finally, the government asserts that, even if the reporter’s privilege is available in this

Circuit, Mr. Lichtblau has made a “selective waiver” of the privilege by agreeing to testify about

his no-longer-confidential communications with Mr. Sussmann. See Resp. at 8-9. The

government errs here in three respects. First, Mr. Lichtblau has not waived anything: Rather,

Mr. Sussmann vitiated the privilege, which the Court of Appeals in Ahn extended only to

confidential source communications, when he released Mr. Lichtblau from the promise of

confidentiality that Mr. Lichtblau had given him. In other words, in light of that release,

Mr. Sussmann no longer qualifies as a confidential source for Mr. Lichtblau’s reporting, and

Mr. Lichtblau acknowledged that, in the circumstances of this criminal case in this Circuit, he

cannot assert the reporter’s privilege to bar otherwise relevant and appropriate inquiry into the

no-longer-confidential communications at issue between the two of them. See Mot. at 1.

Second, even if Mr. Lichtblau—a non-party—could be said to have “waived” the reporter’s

privilege with respect to one of his sources if he testifies as to communications with that source,

that would not justify stripping the protections of the privilege from all of his communications

with all of his other, still-confidential sources. Put differently, the fact that Mr. Sussmann chose

of his own accord to release Mr. Lichtblau from his promise of confidentiality and to serve a

subpoena on Mr. Lichtblau in this matter cannot retract Mr. Lichtblau’s promises of

________________________
(...continued)
Such evidence, however, would have no bearing on and offer no insight into whether
Mr. Sussmann made a false statement to the FBI during that meeting, which is, with all due
respect to the government, the true “central dispute” in this case. Moreover, anything
Mr. Lichtblau conceivably could testify to regarding the government’s “coordination” theory
would be inadmissible: Testimony as to what others told him would be hearsay not subject to an
exception, and what Mr. Lichtblau may have said to others about that theory would not be
probative of whether Mr. Sussmann in fact was coordinating with others.


                                                   7
         Case 1:21-cr-00582-CRC Document 141 Filed 05/22/22 Page 8 of 9




confidentiality to other sources. Third, as the Court of Appeals explained in United States v.

Thompson, 562 F.3d 387 (D.C. Cir. 2009), a case cited by the government, Resp. at 9 (using

incorrect case name), “selective waiver” means “allow[ing] a party voluntarily to produce

documents covered by the attorney-client privilege to one party and yet assert[ing] the privilege

as a bar to production to a different party.” Id. at 394. Here, however, Mr. Lichtblau expressly

seeks to impose the same limits on questioning by both parties in order to resolve the subpoena

served upon him. For all of these reasons, Mr. Lichtblau has not waived the reporter’s privilege

as it applies to his communications with his other sources and newsgathering activities.

                                         CONCLUSION

       For the foregoing reasons and those stated in his initial memorandum, Mr. Lichtblau

respectfully requests that the Court grant his Motion for Protective Order and limit any

questioning he may face at trial to the topic of his communications with the Defendant.

Mr. Lichtblau further requests that the Court hear oral argument on his Motion and that, if the

Court ultimately decides to allow the government to question him about matters beyond his

communications with Mr. Sussmann, it issue a ruling to that effect with sufficient time in

advance of Mr. Lichtblau’s examination to permit him to seek emergency relief from the Court

of Appeals.




                                                 8
       Case 1:21-cr-00582-CRC Document 141 Filed 05/22/22 Page 9 of 9




Dated: May 22, 2022                 Respectfully submitted,

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                                     9
